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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

   MARCOS FRANCO,

              Plaintiff,

   vs.                                                     CASE NO. 2020-


   HAVAS MEDIA GROUP USA, LLC,

         Defendant.
   _________________________________/

                                              COMPLAINT

              Plaintiff, MARCOS FRANCO (“Plaintiff”), by and through the undersigned counsel

   and pursuant to Title I of the American Disabilities Act, 42 U.S.C. §12112, et seq., (1990)

   (ADA), as amended by the Americans with Disabilities Amendments Act (ADAA),

   Rehabilitation Act of 1973, 29 U.S.C. §504, (1988), and Title VII of the 1964 Civil Rights Act,

   78 Stat. 253, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”) hereby sues the Defendant,

   HAVAS MEDIA GROUP USA, LLC (“Defendant” or “HAVAS”) and as grounds states the

   following:

         1.       Plaintiff MARCOS FRANCO was at all times material an employee of Defendant.

   On June 2016, Defendant unlawfully retaliated against and terminated Plaintiff from his position

   as administrative assistant.     Defendant’s unlawful discriminatory employment practices were

   on the basis of Plaintiff’s disability, to wit: panic attacks/mental illness, and sex (harassment).

         2.       Jurisdiction of this court is invoked pursuant to 28 U.S.C. §1331, pursuant to Title

   VII, the ADA.

         3.       At all time material hereto the Defendant, HAVAS, as a corporation licensed and
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   doing business in Florida. The Defendant also has more than fifty (50) employees.

       4.     The Plaintiff, MARCOS FRANCO, has exhausted his administrative remedies and

   otherwise complied with all conditions precedent to the filing of this action, including, the filing

   of his complaint with the Equal Employment Opportunity Commission (EEOC) on or about June

   7, 2018. (See attached copy of notice(s) Exhibit “A”). Plaintiff received a Notice of Dismissal

   and Notice of Rights containing the Plaintiff’s right to sue within ninety days of receipt of said

   dismissal and notice of rights. (See Attached Exhibit “B”).

       5.     This Court has jurisdiction, in Florida, over the Defendant as the Defendant is a

   corporation that conducts, operates and carries on business in the State of Florida as a corporation

   licensed and doing business in Florida and has committed unlawful acts in Florida and has

   conducted substantial, and not isolated activities within the State of Florida.

                                 ADA FACTUAL BACKGROUND

      6.      Plaintiff, MARCOS FRANCO was during his employment a 47 year old male and

   resident of Miami, Florida.

      7.      On June 2016 Defendant hired Plaintiff for a Senior Financial Analyst based at the

   Blue Lagoon, Miami, Florida.

      8.      The Plaintiff incorporates the EEOC Compliant attached as Exhibit “A” as if the

   allegations were stated herein and as the allegations support his complaint.

      Disability

      9.      During his employment with the Defendant the Plaintiff suffered from a severe panic

   attacks due to his Generalized Anxiety Disorder, a condition that resulted in an impairment

   substantially limiting one or more of life’s major activities, to wit breathing, pain, and panic

   attacks. The Plaintiff suffered continuing headaches, memory loss, and short of breath that
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   significantly limited his ability perform all of his duties.

       10.    Defendant regarded Plaintiff as having an impairment, there is a record of impairment

   that substantially limited one or more of life’s major activities which qualifies as a disability in

   accordance with the ADA.

       11.    The Plaintiff provided medical records to the Defendant regarding his disability.

       12.    Plaintiff suffered and continues to suffer from the aforementioned medical condition

   that qualifies as a disability in accordance with the ADA.

       Harassment

        13.   May 12, 2017, the employer recognized in a letter from H.R. the Plaintiff’s disability,

    provided an accommodation of a weekly meeting to help the Plaintiff manage his stress level.

    (limited accommodation.) Also, the Defendant allowed Plaintiff leave from time to time for

    medical treatment.

       14.    The Defendant provided only a few weeks of meetings, even though it appeared that

   the meetings worked and did not interfere with production or business. However, shortly after

   granting the limited accommodation the weekly meetings stopped.

       15.    On or around September 27, 2018 after repeated requests for the accommodation of

   the weekly meetings, the supervisor, Juan Carlos Morales, (CFO) harassed the Plaintiff and

   instead of providing the accommodation Juan Carlos Morales ridiculed the Plaintiff. Juan

   Carlos Morales failed entirely to give the Plaintiff his limited accommodation of the weekly

   meeting, choosing to discourage the meeting at all cost and aggravate the mental health of

   Plaintiff. The altercation with Juan Carlos Morales ended up causing severe health deterioration

   of the Plaintiff to the point that both: the Plaintiff’s physician and mental health doctors asked

   Plaintiff to take weeks off of work as his vital defenses were so low to the point of Pneumonia,
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   and mentally the Plaintiff was under extreme pressure that resulted in mental break down.

       16.      As far as September 2018 Juan Carlos Morales aggressively resisted and declined to

   have the accommodation meeting as stated in the May 2017 letter of accommodation from HR,

   instead, specifically said “…we do not have time for the meetings.” The harassment was in

   retaliation for complaining about discrimination and on the basis of disability and for taking

   leave back in June.

       17.      During the time that the Plaintiff requested compliance with his limited

   accommodation, both Juan Carlos Morales and Alejandra Fortuna harassed the Plaintiff

   regarding his job performance. This was exactly the reason for the limited accommodation and

   weekly meetings to help the plaintiff manage stress.        The Plaintiff continued throughout

   September 2018 to reach out upper management to address the harassment.

       18.      Starting in 2017 and continuing through the period of employment the harassment

   continued. Even though the supervisors in management knew about the Plaintiff’s condition, and

   that Juan Carlos Morales and Ms. Fortuna continued to pressure the Plaintiff, singled him out

   and berating the Plaintiff in front of other employees. This conduct was only directed at the

   Plaintiff.

       19.      In a meeting with Alejandra Fortuna in September 2018, the Plaintiff presented a

   report to Ms. Fortuna. It was apparent at that meeting that Ms. Fortuna was upset at the Plaintiff

   because of the Plaintiff’s attempts to remedy the issue of the limited accommodation and ask

   upper management for assistance in reporting. In that meeting Ms. Fortuna said, “the shit

   already hit the fan and you just added another layer to it.” This was embarrassing and humiliating

   and showed the Plaintiff the limited accommodation was not going to continue.

       20.      The harassment continued, as both Ms. Fortuna and Juan Carlos Morales continued
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   to criticize the Plaintiff without any basis in fact and in bizarre emails stating that the work was

   not good, but without any clear criticism. The Plaintiff continued to request the meetings

   (limited accommodation). The stress was unbearable, and his health deteriorated. The Plaintiff

   requested an accommodation of time off.         The Plaintiff’s immediate supervisor, Alejandra

   Fortuna refused to allow the accommodation.

      21.     As a result of Juan Carlos Morales and Alejandra Fortuna’s the failure to

   accommodate and the public berating the Plaintiff was subject to humiliation and

   embarrassment.

     22.    Another example, Plaintiff’s supervisors, Juan Carlos Morales and Alejandra Fortuna

    manufactured a reprimand on May 30, 2018.            Without any notice, Juan Carlos Morales

    summoned the Plaintiff to a “Performance Evaluation” without giving instructions, any reasons,

    or time for preparation. In addition, this was not a seasonal performance evaluation and no one

    else was being evaluated. In that meeting Juan Carlos Morales and HR Director Zulemey

    Contreras were present. As far as the “evaluation” it appeared that the evaluation did not include

    input from the Plaintiff’s supervisor as the Plaintiff’s Direct Supervisor, was not even present

    and there was no mention of her review.

     23.    Furthermore, on May 30, 2018 it was not the Company’s Performance Review season.

    The Plaintiff had not been advised of any mistakes performed lately; however, Plaintiff had

    been asking for the weekly meeting, the limited accommodation. Juan Carlos Morales and

    Zulamey failed to bring tangible evidence of any Job Performance concerns, and Plaintiff had

    to ask for specific examples of their concerns and they were unable to present examples, or

    allegations. There was no written document that confirmed any performance problems or even

    any critical evaluation. The specific threat to the Plaintiff that came out in the meeting was that
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    the Plaintiff would be fired. This had obviously been prepared to harass and intimidate

    Plaintiff for asking for reasonable accommodation.

      24.     The Defendant’s managers and administrations condoned the behavior of Juan Carlos

   Morales and Alejandra Fortuna by turning a blind eye to the activity and failing to investigate

   the complaints.

      25.     Upon information and belief, Defendant had not reprimanded, or question other

   employees for their work production or harass other employees in any way.

      26.     The supervisors Juan Carlos Morales and Alejandra Fortuna eventually physically

   alienated the Plaintiff by moving him to a common area where the company did billing and

   advertising production. This was far from the staff that the Plaintiff was required to work with

   and further impeded the Plaintiff’s ability to do his job. Also, this was embarrassing as he was

   with junior staff, and it was obvious to everyone this was designed to belittle the Plaintiff.

      27.     The move of the Plaintiff’s office space created difficulties in continuing to do his

   work. The Plaintiff could not get information regarding activity that would affect his reporting.

   This increased the workload and interfered in the Plaintiff’s ability to complete his tasks,

   aggravating his stress, it was the opposite of allowing the limited accommodation for more

   contact and convenient supervision.

      28.     Desperate to find help or a solution the Plaintiff reached out to a high-level

   Management person, Javier Del Castillo. On or around September 6, 2018 the Plaintiff wrote a

   complaint to the company Vice President Javier Del Castillo about some of the conduct.

   Fearing additional retaliation (by Defendant’s employee, Juan Carlos Morales and Alejandra

   Fortuna) the Plaintiff sent written correspondence. The written correspondence was meant to

   be constructive and to start a dialog.
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      29.     At the end of September and beginning of October 2018, Alejandra Fortuna took an

   opportunity to harass the Plaintiff during a meeting with the new controller, Sara Gonzalez. The

   Plaintiff was happy to present at the meeting and when he concluded Ms. Fortuna singled the

   Plaintiff out and stated: “I think that for over 2.5 years working for this company you have hardly

   learned a thing.” He was embarrassed and humiliated.

      30.     Following this, the Plaintiff’s stress kept increasing and he began to feel shortness of

   breath, constant panic attacks, headaches, dizziness. that led the Plaintiff to send an e-mail to

   Antonio Caceres, (CFO regional) and Jorge Perovich, (CEO of Havas) to ask for help and

   explained that he (the Plaintiff) had already dealt with two HR directors inhouse and tried for

   over a year to find a solution. The Plaintiff expressed how severe the situation was. The Plaintiff

   did not get a direct response. However, on October 3, 2018 the Plaintiff received communication

   form Andrea Moore, (Havas America HR VP). The Plaintiff assumed they would discuss the

   lack of accommodation and that the Plaintiff was sick again. In her email, Andrea Moore

   scheduled a call for Friday October 5, at 3:00 p.m. The Plaintiff prepared an email of background

   of the issues in preparation for the meeting.

      31.    Then on October 5th call the Plaintiff was very surprised that Andrea Moore invited

    corporate legal counsel to join and the conversation was not about his complaints, but about

    matters of the Plaintiff’s performance, again without any facts. The legal counsel on the call,

    Nancy Wayne, was intimidating, unfriendly, not sympathetic and the Plaintiff felt incredibly

    uncomfortable and more stressed. The counsel talked about consequences if the Plaintiff

    continued to push the complaints, or as she put it “… pledge falsehoods.” Again, the Plaintiff

    as embarrassed and humiliated

      32.     The Defendant HR representative and legal counsel did nothing to help with the
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   accommodation and continued to allow the conduct that was harming the Plaintiff physically.

       33.       Due to the continuing harassment that was substantial and the alienation of the

   Plaintiff, it was employment was constructively terminated.

       34.       On November 17, 2018 the Plaintiff set forth in writing his basis for constructive

   termination.

       35.       Defendant discriminated and retaliated against Plaintiff on the basis of his disability,

   for requesting a reasonable accommodation, and for taking leave.

       36.       Defendant subjected Plaintiff to a hostile work environment on the basis of his

   disability.

       37.       Nothing was done to protect the Plaintiff or address the Plaintiff’s complaint.

       38.       Defendant retaliated against Plaintiff for engaging in a protected activity by making

   a complaint of discrimination and retaliation on the basis of his disability as described above.

       39.       Defendant subjected Plaintiff to a hostile work environment on the basis of his

   disability and for making a complaint of discriminatory and retaliatory treatment for exercising

   his rights as described above.

       40.       Defendant subjected Plaintiff to a hostile work environment up to the day of his

   constructive termination as described above.

       41.       Plaintiff felt extremely degraded, victimized, humiliated, and severely emotionally

   distressed.

       42.       Defendant discriminated against and retaliated against Plaintiff for having

   complained of discrimination, as well as for having requested a reasonable accommodation

   under the ADA.

       43.       Defendant’s discriminatory and retaliatory conduct was so unfair and extreme, that it
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   caused severe emotional distress, aggravated anxiety/depression, both financial emotional harm

   and the conduct was willful, intentional, and designed to and in fact did harm the Plaintiff.

      44.      Defendant’s actions constituted a continuing violation under the applicable federal,

   laws.

      45.      The above are just some of the examples of the pattern and practice of unlawful,

   discriminatory, and retaliatory conduct to which Defendant subjected Plaintiff.



            COUNT I: DISCRIMINATION IN VIOLATION OF AMERICANS WITH
                  DISABILITIES ACT 42 U.S.C. §§12101, ET SEQ. (1990)

            Plaintiff, MARCOS FRANCO, re-alleges and incorporates herein by reference the

   allegations contained in paragraphs 1 through 45 as if set forth fully herein.

       46.     This is an action to recover all damages, interest, equitable relief and attorney’s fees

   and costs on behalf of Plaintiff for violations of her federal rights under the Americans with

   Disabilities Act (ADA), 42 U.S.C. §§12101, et seq., as amended to include the remedies in 42

   U.S.C. §2000e-5 and 42 U.S.C. §1981a.

       47.     Plaintiff is disabled within the meaning of 42 U.S.C. § 12101, et seq. (1990), as

   amended, in that she suffered from the medical conditions heretofore described, which impaired

   her breathing and substantially limited one or more of life’s major activities. Additionally,

   Defendant regarded Plaintiff as having an impairment, and there was a record of an impairment,

   that substantially limited one or more of life’s major activities.

       48.     Defendant is an employer within the meaning of 42 U.S.C. §12101, et seq.

       49.     At all times material hereto, Defendant was aware of Plaintiff’s disability and failed

   to accommodate his reasonable accommodation requests to prevent the aggravation of his health

   issues, by not allowing the limited accommodation of the weekly meeting.
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        50.    As set forth in the Plaintiff’s EEOC Complaint the Plaintiff requested an

    accommodation for weekly meetings, that was denied capriciously.

        51.    The Plaintiff’s disability was the motivating factor in the Defendant’s decision to

    unlawfully discriminate against the Plaintiff. Instead of accommodating Plaintiff’s reasonable

    accommodation request based on his disability, Defendant failed to allow the accommodation

    and embarrassed the Plaintiff by alienating him, singling him out and leaving him out of internal

    promotional notice where other employees received recognition for transfers and promotions,

    but the Plaintiff was never mentioned.

        52.    Plaintiff could perform the essential functions of his position with reasonable

    accommodations and with some difficulty without accommodations.              However, without

    accommodations his condition would degrade and he would need to take time off to recover.

        53.    Defendant discriminated against Plaintiff by wrongfully denying his requests for a

    reasonable accommodation, failing to train him, reprimanding him, and eventually making the

    working environment so bad that he had to resign or face deteriorating health conditions.

        54.    As early as May 2017 the Plaintiff questioned his supervisor about being singled out,

    asked for training/work supervision and left out of his team.

        55.    Plaintiff is protected against discrimination under the ADA.

        56.    Defendant’s discrimination against Plaintiff was willful or with reckless indifference

    to his protected rights.

        57.    Plaintiff has been damaged as a direct and proximate result of Defendant’s illegal

    employment practices, including suffering economic damages, compensatory damages,

    emotional pain and suffering, inconvenience, mental anguish, outrage, loss of enjoyment of life,

    loss of dignity, and other non-pecuniary losses and tangible injuries.
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        WHEREFORE, Plaintiff demands trial by jury, and requests this Court to:

                   a.      Declare that Defendant, HAVAS, unlawfully discriminated against
                   Plaintiff in violation of the ADA;

                   b.      Issue an order prohibiting further discrimination;

                   c.      Order equitable relief, including but not limited to back pay, reinstating
                   Plaintiff with all promotions and seniority rights to which she is entitled or award
                   front pay in lieu of reinstatement, and all other equitable relief provided in 42
                   U.S.C. §2000e-5 and 42 U.S.C. §1981a;

                   d.     Award Plaintiff all compensatory and punitive damages provided for in
                   42 U.S.C. §1981a and applicable statutes; and

                   e.    Award Plaintiff her costs, attorney’s fees and such other relief as the Court
                   deems proper.

        COUNT II: RETALIATION UNDER AMERICANS WITH DISABILITIES ACT
                         42 U.S.C. §§12101, ET SEQ. (1990)

           Plaintiff, MARCOS FRANCO, re-alleges and incorporates herein by reference the

    allegations contained in paragraphs 1 through 45 as if set forth fully herein.

        58.    This is an action to recover all damages, interest, equitable relief and attorney’s fees

    and costs on behalf of Plaintiff for violations of her federal rights under the Americans with

    Disabilities Act (ADA), 42 U.S.C. §§12101, et seq., as amended to include the remedies in 42

    U.S.C. §2000e-5 and 42 U.S.C. §1981a.

        59.    Plaintiff is disabled within the meaning of 42 U.S.C. § 12101, et seq. (1990), as

    amended, in that he suffered from the medical conditions heretofore described, which impaired

    his mental systems and was substantially limited in one or more of life’s major activities.

    Additionally, Defendant regarded Plaintiff as having an impairment, and there was a record of

    an impairment, that substantially limited one or more of life’s major activities.

        60.    Defendant is an employer within the meaning of 42 U.S.C. §12101, et seq.

        61.    Following and as a result of Plaintiff’s request for reasonable limited accommodation,
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    the Defendant retaliated against Plaintiff by instead reprimanding Plaintiff, accusing the Plaintiff

    of violating company policy, and making the employment so unbearable that it constructively

    terminated Plaintiff’s employment.

        62.    Juan Carlos Morales and Alejandra Fortuna supervised at least 15 people, on or

    around 2017 to 2018. During that time Juan Carlos Morales and Alejandra Fortuna as described

    above would single the Plaintiff out, berate the Plaintiff, and not the other employees. The

    Plaintiff never witnessed Juan Carlos Morales and Alejandra Fortuna berate any other employee.

        63.    The Plaintiff notified Human Resources (HR) in May 2017 of this humiliating

    behavior and it happened on more than 20 times in 2017 and 2018. Juan Carlos Morales and

    Alejandra Fortuna also laughed publicly at the Plaintiff in front of other employees. It was

    embarrassing.

        64.    Defendant failed to properly train or reprimand Juan Carlos Morales and Alejandra

    Fortuna and supervise them after the allegations of misconduct surfaced.

        65.    Defendant’s retaliation against Plaintiff was willful or with reckless indifference to

    his protected rights.

        66.    Plaintiff has been damaged as a direct and proximate result of Defendant’s illegal

    employment practices, including suffering economic damages, compensatory damages,

    emotional pain and suffering, inconvenience, mental anguish, outrage, loss of enjoyment of life,

    loss of dignity, and other non-pecuniary losses and tangible injuries.

        WHEREFORE, Plaintiff demands trial by jury, and requests this Court to:

                    a.      Declare that Defendant, HAVAS, unlawfully discriminated against
                    Plaintiff in violation of the ADA;

                    b.      Issue an order prohibiting further discrimination;

                    c.      Order equitable relief, including but not limited to back pay, reinstating
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                   Plaintiff with all promotions and seniority rights to which she is entitled or award
                   front pay in lieu of reinstatement, and all other equitable relief provided in 42
                   U.S.C. §2000e-5 and 42 U.S.C. §1981a;

                   d.     Award Plaintiff all compensatory and punitive damages provided for in
                   42 U.S.C. §1981a and applicable statutes; and

                   e.    Award Plaintiff her costs, attorney’s fees and such other relief as the Court
                   deems proper.




                    FACTS FOR COUNTS COUNT III SEX HARRASSMENT
                             IN VIOLATION OF TITLE VII.

           Plaintiff, MARCOS FRANCO, re-alleges and incorporates herein by reference the

    allegations contained in paragraphs 1 through 5 as if set forth fully herein.

          67. Plaintiff brings this lawsuit seeking recovery against Defendant for Defendant’s

               violations of Title VII of the 1964 Civil Rights Act, 78 Stat. 253, as amended, 42

               U.S.C. § 2000e, et seq. (“Title VII”) including Title VII’s anti-retaliation provisions.

          68. This Court has original Federal question jurisdiction under 28 U.S.C. § 1331 and 29

               U.S.C. § 216(b) because this case is brought under Title VII of the 1964 Civil Rights

               Act, 78 Stat. 253, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”).

          69. The Plaintiff is a male.

          70. The Plaintiff’s supervisor, Juan Carlos Morales, commented on many occasions that

               he knew that the Plaintiff was gay.    In fact in May 2017 Juan Carlos Morales stated

               directly to the Plaintiff that he had difficulty doing business with “esos mexicanos

               son unos marcias” which translate to “Mexican queers.” This was witnessed by

               another employee and was extremely embarrassing to the Plaintiff, as he was both of

               Mexican decent and gay. The comment was directed to the Plaintiff in front of other
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                employees.

            71. Further Juan Carlos Morales and Alejandra Fortuna also had other employees do their

                bidding of harassing the Plaintiff. The sister in law to Alejandra Fortuna, worked in

                the office and would often make inappropriate comments directly to the Plaintiff in

                front of Ms. Fortuna. On more than one occasion the sister in law would show the

                Plaintiff pictures of black male’s genitalia, and make comments such as “…do you

                like it up your a__?”   and “how does that feel.” The sister in law would ask what

                type of penises or “dicks” he preferred and openly discussed sexual positions. All

                this happened in front of Alejandra Fortuna.

            72. The sexual content of the many conversations was unwelcomed and was so pervasive

                it made doing the Plaintiff’s job unbearable.

            73. The above are just some of the examples of the pattern and practice of unlawful,

                harassment to which Defendant subjected Plaintiff.

            74. The Plaintiff eventually resigned due to the pervasive harassment, as the harassment

                was unbearable.

            75. The Plaintiff incorporates the EEOC Compliant attached as Exhibit “A” as if the

                allegations were stated herein and as they support my complaint.



          COUNT III CLAIM FOR RELIEF DISCRIMINATION HARASSMENT DUE TO
                                  SEX IN VIOLATION OF TITLE VII
            Plaintiff repeats and re-alleges each and every allegation set forth in the preceding

    paragraphs numbered 1 -5 and 67 through 75, as if fully set forth herein.

    72.     Plaintiff is a gay male.

    73.     Defendant, HAVAS, through its agents, engaged in a discriminatory practice in terms,
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    conditions, and privileges of employment because of the pervasive and direct sexual harassment

    of Plaintiff. Defendant violated the law by subjecting the Plaintiff to a hostile work environment

    including direct sexual harassment.

    74.     Juan Carlos Morales and Alejandra Fortuna supervised at least 15 people, on or around

            2017 and 2018 when they would single the Plaintiff out, as described above, openly

            harass the Plaintiff in front of other employees and allow the Plaintiff to be harassed.

            The Plaintiff never witnessed Juan Carlos Morales and Alejandra Fortuna berate at any

            other employees and they treated the other employees with more respect.

    75.     To the extent that Defendant provided any avenue of complaint, Plaintiff reasonable

            availed himself of the company procedures Defendant provided to its employees

            including HR.

    76.     The aforementioned actions of Defendant constitute an ongoing pattern and practice of

            sex discrimination and harassment.

    77.     The acts complained of herein paragraphs # 67 to 73 violate Title VII and are illegal.

    78.     As a result of such conduct by Defendant, Plaintiff has suffered damages and in entitled

            to back pay, front pay, and compensatory damages for, among other things, emotional

            trauma and the physical consequences thereof suffered by Plaintiff as a consequence of

            Defendant’s unlawful conduct.

    89.     Defendant’s discriminatory treatment of Plaintiff was willful and/or in reckless disregard

            of Plaintiff’s federally protected rights, due to which Plaintiff is entitled an award of

            punitive damages against Defendant.

          WHEREFORE, Plaintiff MARCOS FRANCO demands trial by jury, and requests this

    Court to:

                   a.       Declare that Defendant HAVAS unlawfully discriminated against
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               Plaintiff in violation of the Title VII; and

               b.      Issue an order prohibiting further discrimination; and

               c.      Order equitable relief, including but not limited to back pay, reinstating
               Plaintiff with all promotions and seniority rights to which she is entitled or award
               front pay in lieu of reinstatement, and all other equitable relief provided at law;

               d.    Award Plaintiff all compensatory and punitive damages provided for in
               and
               e.    Award Plaintiff her costs, attorney’s fees and such other relief as the Court
               deems proper.



                               Respectfully submitted on _3__ of February 2020.

                               LAW OFFICES OF RICHARD J. CALDWELL, P.A.
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                               By:_/S/ _Richard J. Caldwell______________
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